                                                  Case 2:19-cv-08109-SVW-MAA Document 64 Filed 03/10/21 Page 1 of 10 Page ID #:847




                                                                         1   COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         2
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                                                                         6
                                                                             Attorneys for Defendant, COUNTY OF LOS ANGELES
                                                                         7

                                                                         8
                                                                                                  UNITED STATES DISTRICT COURT
                                                                         9
                                                                                    CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                        10
                                                                             DANIEL NERSOYAN,                          CASE NO. CV19-08109 SVW (MAAx)
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                               Plaintiff,              DEFENDANT COUNTY OF LOS
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                                       ANGELES’ REPLY TO
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13               v.                            OPPOSITION TO MOTION FOR
                                                                        14                                             SUMMARY JUDGMENT OR, IN
                                                                             COUNTY OF LOS ANGELES, a                  THE ALTERNATIVE, MOTION
                                                                        15   county corporation; COUNTY OF LOS
                                                                             ANGELES SHERIFF’S                         FOR PARTIAL SUMMARY
                                                                        16   DEPARTMENT, a public entity;              JUDGMENT; DECLARATION OF
                                                                             SHERIFF JAMES MCDONNELL, in               LAURA E. INLOW
                                                                        17   his official capacity and as an
                                                                             individual; DEPUTY KENNETH
                                                                        18   COLLINS, individually and in his          Hearing Date: vacated
                                                                             official capacity as a Deputy, and
                                                                        19   DOES 1 through 10, inclusive
                                                                                                          Action Filed: September 18, 2019
                                                                        20                Defendants.     Trial Date: vacated
                                                                             TO THE HONORABLE COURT, PLAINTIFF AND HIS ATTORNEY OF
                                                                        21
                                                                             RECORD:
                                                                        22
                                                                                   Defendant the COUNTY OF LOS ANGELES hereby submits the following
                                                                        23

                                                                        24   reply to Plaintiff’s Opposition to Defendant’s Motion for Summary Judgment or,
                                                                        25
                                                                             in the alternative, Motion for Partial Summary Judgment.
                                                                        26

                                                                        27

                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                  -1-
                                                                               DEFENDANT’S REPLY RE MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
                                                                                                MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                                                         1
                                                                                          MEMORANDUM OF POINTS AND AUTHORITIES
                                                                         2
                                                                                I. INTRODUCTION
                                                                         3

                                                                         4           Plaintiff’s opposition takes the classic approach of trying to muddy the
                                                                         5
                                                                             waters with irrelevant information and baseless assertions disguised as “facts.”
                                                                         6
                                                                             However, plaintiff’s opposition contains no references to supporting evidence
                                                                         7

                                                                         8   whatsoever and plaintiff has offered no new facts in his response to the separate
                                                                         9
                                                                             statement. Plaintiff also failed to oppose the motion as to any of the state claims.
                                                                        10
                                                                             As such, plaintiff offers no material facts sufficient to defeat the instant motion.
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12     II.  DISCOVERY SINCE MOTION WAS FILED CONFIRMS
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                                    PLAINTIFF HAD NOTICE OF HIS ALLEGED INJURY IN 2014
                                 TORRANCE, CALIFORNIA 90503




                                                                        13
                                                                                    AND FAILED TO COOPERATE WITH THE LASD
                                                                        14
                                                                                    INVESTIGATION
                                                                        15        The instant motion was filed on October 26, 2020. Thereafter, plaintiff’s
                                                                        16
                                                                             counsel petitioned the court to be able to conduct tardy discovery to help oppose
                                                                        17

                                                                        18
                                                                             the motion. While conveniently ignored by plaintiff in his opposition, plaintiff did

                                                                        19   elicit some significant pertinent new facts since defendant filed the instant motion.
                                                                        20
                                                                                  First, when plaintiff finally deposed Lt. Kimura on February 17, 2021, Lt.
                                                                        21

                                                                        22   Kimura testified that the reason he did not complete his investigation into

                                                                        23   Nersoyan’s 2014 Government Tort Claim allegation of theft by a Sheriff’s deputy
                                                                        24
                                                                             was because he was told to cease all activity on the investigation as the matter was
                                                                        25

                                                                        26   being transferred to the FBI. (Inlow Decl., ¶ 2; Exhibit M, 63:13-64:5). This makes

                                                                        27   sense as it was plaintiff’s own testimony that instead of cooperating with the
                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                  -1-
                                                                               DEFENDANT’S REPLY RE MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
                                                                                                MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                                                         1   LASD, he made a complaint to the FBI and cooperated with their investigation.
                                                                         2
                                                                             (Exhibit A; 110:24-111:22, 115:21-116:4, 120:6-15, 124:22-125:20). Lt. Kimura
                                                                         3

                                                                         4   also confirmed that neither plaintiff nor his attorney would cooperate with his

                                                                         5   investigation and they never provided him with the videotape which allegedly
                                                                         6
                                                                             depicted the incident. (Inlow Decl., ¶ 2; Exhibit M, 51:2-15).
                                                                         7

                                                                         8        Second, plaintiff deposed Kenneth Collins on January 28, 2021, and Collins

                                                                         9   denied conducting a sham traffic stop on plaintiff’s courier and denied stealing any
                                                                        10
                                                                             money on May 28, 2014. (Inlow Decl., ¶ 3; Exhibit N, 19:2-17, 22:12-23:20, 25:4-
                                                                        11
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                                                                        12   26:1).
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                              21515 HAWTHORNE BLVD., SUITE 800
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                                                                        13        Third, plaintiff’s attorney in 2014 and 2015, Nareg Gourjian, testified that he
                                                                        14
                                                                             had been retained by Nersoyan in 2014 to investigate the alleged theft, Nersoyan
                                                                        15

                                                                        16   believed the theft had been committed by a Sheriff’s deputy, they had obtained the
                                                                        17   video which they gave only to the FBI, and with Gourjian’s help, they were
                                                                        18
                                                                             working only with the FBI. (Inlow Decl., ¶ 4; Exhibit O, 6:5-7:3, 10:20-11:9,
                                                                        19

                                                                        20   16:18-23). Gourjian also helped plaintiff draft his 2014 Government Tort Claim
                                                                        21   and had a copy of the County’s 2015 Claim Denial letter in his file. (Inlow Decl.,
                                                                        22
                                                                             ¶ 4; Exhibit O, 9:18-10:5, 12:10-16).
                                                                        23

                                                                        24        Finally, plaintiff deposed Lt. Kopperud on December 16, 2020. The
                                                                        25   deposition lasted 45 minutes and plaintiff’s counsel asked only general questions
                                                                        26
                                                                             about LASD policy pertaining to the retention and discipline of deputy personnel.
                                                                        27

                                                                        28   Lt. Kopperud confirmed the LASD has extensive written policies regarding
                                                                             ______________________________________________________________________________
                                                                                                                  -2-
                                                                               DEFENDANT’S REPLY RE MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
                                                                                                MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                                                         1   investigations and discipline for complaints of employee misconduct. (Inlow Decl.,
                                                                         2
                                                                             ¶ 5; Exhibit P, 8:25-9:11, 10:1-19, 11:4-15, 12:18-13:12, 27:5-15. 28:22-29:16). In
                                                                         3

                                                                         4   addition, the prior complaints against Collins were investigated. (Inlow Decl., ¶ 5;

                                                                         5   Exhibit P, 25:6-24).
                                                                         6
                                                                                  Thus, all the discovery conducted by plaintiff after defendant filed the instant
                                                                         7

                                                                         8   motion strengthens defendant’s claims herein. It is undisputed and crystal clear that

                                                                         9   as of the time he filed his Government Tort Claim in 2014, plaintiff believed he
                                                                        10
                                                                             had been robbed by a Sheriff’s deputy. He was so convinced of this that he
                                                                        11
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                                                                        12   retained an attorney, contacted the FBI, and submitted a Government Tort Claim to
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                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13   the County. However, when the Claim was denied in January of 2015, plaintiff
                                                                        14
                                                                             merely sat on his rights and allowed the applicable statutes of limitation to expire.
                                                                        15

                                                                        16    III. PLAINTIFF’S CLAIMS ARE TIME BARRED
                                                                        17         Plaintiff’s ambiguous opposition appears to argue that his tardy 2019
                                                                        18
                                                                             complaint is salvaged by the delayed discovery rule. Specifically, plaintiff appears
                                                                        19

                                                                        20   to assert that he was not on notice of his injury until he was informed by the FBI
                                                                        21   in 2018 that it was Collins who had stolen his money. (Opp. p. 14). This
                                                                        22
                                                                             argument fails as a matter of law.
                                                                        23

                                                                        24         Because 42 U.S.C. § 1983 does not contain its own statute of limitations,
                                                                        25   “[a]ctions brought pursuant to 42 U.S.C. § 1983 are governed by the forum state’s
                                                                        26
                                                                             statute of limitations for personal injury actions.” Knox v. Davis, 260 F.3d 1009,
                                                                        27

                                                                        28   1012–13 (9th Cir. 2001), citing Wilson v. Garcia, 471 U.S. 261, 276 (1985). In
                                                                             ______________________________________________________________________________
                                                                                                                  -3-
                                                                               DEFENDANT’S REPLY RE MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
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                                                                         1   California, the statute of limitations for personal injury actions is two years. Thus,
                                                                         2
                                                                             the statute of limitations for federal 1983 claims is two years. Mills v. City of
                                                                         3

                                                                         4   Covina, 921 F.3d 1161, 1166 (9th Cir. 2019); Canatella v. Van De Kamp, 486

                                                                         5   F.3d 1128, 1132 (9th Cir. 2007). “Although state law determines the length of the
                                                                         6
                                                                             limitations period, federal law determines when a civil rights claim accrues.”
                                                                         7

                                                                         8   Knox, 260 F.3d at 1013, quoting Morales v. City of Los Angeles, 214 F.3d 1151,

                                                                         9   1153–54 (9th Cir. 2000). Under federal law, the “discovery rule” typically governs
                                                                        10
                                                                             the accrual of § 1983 claims so that “a claim accrues when the plaintiff knows or
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12   has reason to know of the injury which is the basis of the action.” Id., quoting
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                                 TORRANCE, CALIFORNIA 90503




                                                                        13   TwoRivers v. Lewis, 174 F.3d 987, 992 (9th Cir. 1999). See also, Bird v. State of
                                                                        14
                                                                             Hawaii, 935 F.3d 738, 743 (9th Cir. 2019).
                                                                        15

                                                                        16         The statutes of limitations are not tolled by California’s “Delayed
                                                                        17   Discovery Rule” because Nersoyan had notice of the facts constituting his claims
                                                                        18
                                                                             when they accrued in 2014. See, Jolly v. Eli Lilly & Co., 44 Cal. 3d 1103, 1110
                                                                        19

                                                                        20   (1988). Moreover, this court need not “accept as true” his allegation that he did
                                                                        21   not “discover” his injury until 2018, because it is a legally “conclusory statement”
                                                                        22
                                                                             (as opposed to a genuinely factual allegation). Ashcroft v. Iqbal, 556 U.S. 662, 678
                                                                        23

                                                                        24   (2009). The fundamental purpose of statutes of limitations is to protect defendants
                                                                        25   from having to defend stale claims such as this. Jolly, at 1112.
                                                                        26
                                                                                   Here, it is undisputed that Nersoyan knew or had reason to know the
                                                                        27

                                                                        28   County of Los Angeles caused his alleged injury in 2014 and certainly no later
                                                                             ______________________________________________________________________________
                                                                                                                  -4-
                                                                               DEFENDANT’S REPLY RE MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
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                                                                         1   than January of 2015. Plaintiff admits that he knew about the May 28, 2014
                                                                         2
                                                                             incident immediately and believed the theft had been committed by a deputy
                                                                         3

                                                                         4   sheriff. (UMF 14). By May 29, 2014, plaintiff had videotape of the alleged theft

                                                                         5   which he asserts shows a LASD patrol car. (UMF 21). In June of 2014, plaintiff
                                                                         6
                                                                             advised the FBI about the alleged theft and submitted the videotapes to the FBI.
                                                                         7

                                                                         8   (UMF 23).

                                                                         9         On November 18, 2014, Nersoyan submitted his Government Tort Claim to
                                                                        10
                                                                             the County. (UMF 28). He makes a disingenuous claim that he never received the
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12   Claim Denial Letter of January 15, 2015, although he confirms it was addressed to
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13   his proper home address. However, the letter was in the file of his attorney, so the
                                                                        14
                                                                             only logical inference is that plaintiff provided the Denial Letter to his counsel.
                                                                        15

                                                                        16   Despite the claim being denied on January 15, 2015 and plaintiff being
                                                                        17   represented by counsel specially to investigate the alleged theft, this suit was not
                                                                        18
                                                                             filed until almost five (5) years later on September 18, 2019. (Doc. No. 1).
                                                                        19

                                                                        20         Thus, instead of pursuing his rights, plaintiff abandoned them until 2019.
                                                                        21   Therefore, all federal §1983 and state causes of action must be dismissed with
                                                                        22
                                                                             prejudice for failure to comply with the applicable statute of limitations.
                                                                        23

                                                                        24    IV. EVEN IF NOT TIME-BARRED, THE MONELL CLAIMS FAIL
                                                                        25        Plaintiff has not offered any evidence whatsoever to support his Monell claim.
                                                                        26
                                                                             There are no declarations and no documents which establish any of the elements of
                                                                        27

                                                                        28   a viable Monell claim. There is no evidence that Collins acted under color of law
                                                                             ______________________________________________________________________________
                                                                                                                  -5-
                                                                               DEFENDANT’S REPLY RE MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
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                                                                         1   and no evidence that Collins, assuming arguendo he conducted the theft, acted
                                                                         2
                                                                             pursuant to an expressly adopted official policy or long-standing custom of the
                                                                         3

                                                                         4   County to allow or turn a blind eye to employee theft.

                                                                         5         Here, the undisputed facts are that the County had clear policies and
                                                                         6
                                                                             procedures pertaining to the investigation and discipline of deputy personnel.
                                                                         7

                                                                         8   Moreover, those policies were followed regarding all known claims against

                                                                         9   Collins. Specifically, in contrast to plaintiff’s claims to the contrary, the Nersoyan
                                                                        10
                                                                             claim was investigated by the LASD but the investigation was thwarted by
                                                                        11
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                                                                        12   Nersoyan’s own failure to cooperate and the FBI taking over the investigation.
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                                                                        13         Finally, Monell liability only attaches for conduct that is “under color of
                                                                        14
                                                                             law.” Here, the alleged theft by Collins was clearly outside the course and scope of
                                                                        15

                                                                        16   his employment such as to fail the “under color of law” requirement. See, Griffin v
                                                                        17   Maryland, 378 U.S. 130, 135 (1964); Johnson v. Knowles, 113 F.3d 1114, 117 (9th
                                                                        18
                                                                             Cir. 1997); Huffman v. County of Los Angeles, 147 F.3d 1054, 1058 (9th Cir. 1998);
                                                                        19

                                                                        20   and Van Ort v. Estate of Stanewich, 92 F.3d 831, 838 (9th Cir. 1996). Plaintiff
                                                                        21   offers no admissible evidence to the contrary. As such, there is no nexus between
                                                                        22
                                                                             Collins’ duties for the County and his alleged wrongful acts in furtherance of an
                                                                        23

                                                                        24   illegal personal pursuit. For all these reasons herein, the Monell cause of action
                                                                        25   should be dismissed.
                                                                        26

                                                                        27

                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                  -6-
                                                                               DEFENDANT’S REPLY RE MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
                                                                                                MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                                                         1     V.      THE STATE LAW CLAIMS ALSO FAIL AS A MATTER OF LAW
                                                                         2
                                                                                       AND SHOULD BE DISMISSED BY THIS COURT
                                                                         3

                                                                         4          The FAC also asserts state law causes of action for common law fraud,

                                                                         5   conversion, intentional infliction of emotional distress and trespass. While the
                                                                         6
                                                                             court declined to address these claims on the motion to dismiss, it was without
                                                                         7

                                                                         8   prejudice to defendant’s right to address them at a later date. (Doc. No. 38).

                                                                         9   Plaintiff failed to address the arguments supporting dismissal of the state law
                                                                        10
                                                                             claims whatsoever in the opposition. He also wholly fails to address the state law
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12   sections of the separate statement. Accordingly, the motion is unopposed, and all
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                                                                        13   state law claims should be dismissed with prejudice.
                                                                        14
                                                                              VI. CONCLUSION
                                                                        15

                                                                        16          For the foregoing reasons, defendant County of Los Angeles respectfully
                                                                        17   requests that this Court grant its motion for summary judgment in its entirety and
                                                                        18
                                                                             enter judgment in favor of defendant County of Los Angeles. In the alternative,
                                                                        19

                                                                        20   defendant seeks partial summary judgment on each cause of action addressed
                                                                        21   herein.
                                                                        22
                                                                             DATED: March 10, 2021          COLLINSON, DAEHNKE, INLOW & GRECO
                                                                        23

                                                                        24                                    By:
                                                                                                                    /s/ Laura E. Inlow
                                                                        25                                          Laura E. Inlow, Esq.
                                                                        26                                          Attorneys for Defendant
                                                                                                                    COUNTY OF LOS ANGELES
                                                                        27

                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                  -7-
                                                                               DEFENDANT’S REPLY RE MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
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                                                                         1                       DECLARATION OF LAURA E. INLOW
                                                                         2
                                                                             I, Laura E. Inlow, declare as follows:
                                                                         3

                                                                         4
                                                                                   1.     I am a partner of Collinson, Daehnke, Inlow & Greco, counsel of
                                                                         5

                                                                         6   record for Defendant County of Los Angeles herein. I make the following

                                                                         7   declaration based on my own personal knowledge. I could and would competently
                                                                         8
                                                                             testify under oath to the facts stated herein.
                                                                         9
                                                                        10         2.     True and correct copies of the pertinent portions of the deposition of

                                                                        11   Lt. Douglas Kimura taken on February 17, 2021 are attached hereto and marked as
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                             Exhibit M.
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14         3.     True and correct copies of the pertinent portions of the deposition of

                                                                        15   Kenneth Collins taken on January 28, 2021 are attached hereto and marked as
                                                                        16
                                                                             Exhibit N.
                                                                        17

                                                                        18         4.     True and correct copies of the pertinent portions of the deposition of
                                                                        19   Nareg Gourjian taken on November 16, 2020 are attached hereto and marked as
                                                                        20
                                                                             Exhibit O.
                                                                        21

                                                                        22        5.      Lt. Kopperud was deposed by plaintiff on December 16, 2020. He was
                                                                        23   the person who signed the declaration and was designated by the County as the
                                                                        24
                                                                             Rule 30(b)(6) witness on policy regarding the handling of complaints of deputy
                                                                        25

                                                                        26   misconduct. The deposition lasted only 45 minutes and plaintiff’s counsel asked
                                                                        27   only general questions about LASD policy pertaining to the retention and
                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                  -8-
                                                                               DEFENDANT’S REPLY RE MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
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                                                                         1   discipline of deputy personnel. Lt. Kopperud confirmed the LASD has extensive
                                                                         2
                                                                             written policies regarding investigations and discipline for complaints of employee
                                                                         3

                                                                         4   misconduct. True and correct copies of the pertinent pages of the deposition of Lt.

                                                                         5   Kopperud taken on December 16, 2020 are attached hereto and marked as Exhibit
                                                                         6
                                                                             P.
                                                                         7

                                                                         8           I declare under penalty of perjury under the laws of the United States of

                                                                         9   America that the foregoing is true and correct. Executed this 10th day of March
                                                                        10
                                                                             2021 in Torrance, California.
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12                                           Laura E. Inlow
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                                     Laura E. Inlow
                              21515 HAWTHORNE BLVD., SUITE 800
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                                                                                  DEFENDANT’S REPLY RE MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE,
                                                                                                   MOTION FOR PARTIAL SUMMARY JUDGMENT
